                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF IOWA
                          COURT FILE NO.:13CV-4032

NEIL A. JOENKS ,
          Plaintiff,
v.

Charles L. Litow, individually &                  NOTICE OF DISMISSAL
Litow & Pech, P. C. &
Arrow Financial Services, LLC,

              Defendants.

            Now comes the Plaintiff, by and through Counsel and gives notice to

         the Court to dismiss the above matter with prejudice, as the Parties have

         settled the dispute by mutual releases and satisfaction.

                                            Respectfully submitted,
                                            JAMES P. MORIARTY, PC
Dated: July 31, 2013                        By:




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